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                 U.S. DISTRICT COURT, SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

DAVID E. WADE                                :
c/o Florey Todd, LTD.                        :
5 E. Long Street, Suite 600                  :
Columbus, OH 43215                           :
                          Plaintiff,         :
              vs.                            :   Case No.: ____________________
                                             :
FRANKLIN COUNTY, OHIO                        :
c/o Franklin County Prosecutor               :
373 S High St, Suite 14                      :
Columbus, OH 43215                           :   Judge: _______________________
                                             :
and                                          :
                                             :   COMPLAINT
FRANKLIN COUNTY SHERIFF’S OFFICE :
c/o Franklin County Prosecutor               :
373 S High St, Suite 14                      :   JURY DEMAND ENDORSED HEREON
Columbus, OH 43215                           :
                                             :
and                                          :
                                             :
NICHOLAS BATES,                              :
In His Individual And Official Capacities as :
Employee of Franklin County Sheriff          :
c/o Franklin County Prosecutor               :
373 S High St, Suite 14                      :
Columbus, OH 43215                           :
                                             :
and                                          :
                                             :
LESS LETHAL, LLC                             :
c/o Richard E. Juler, Statutory Agent        :
5463 Palisades Drive                         :
Cincinnati, Ohio 45238                       :
                                             :
and                                          :
                                             :
NOVA SECURITY GROUP, INC.                    :
c/o Northwest Registered Agent Svc Inc       :
212 W. Troy Street, Ste B                    :
Dothan, AL 36303                             :
                                             :
                           Defendants.       :
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   ________________________________________________________________________

                                 COMPLAINT
 ___________________________________________________________________________

        Now comes Plaintiff, David Wade, and for his Complaint against Defendants, Franklin

County, Ohio, Franklin County Sheriff, Dallas Baldwin, Nicholas Bates, Less Lethal, LLC and

Nova Security Group, Inc., hereby states as follows:

                          PARTIES, JURISDICTION, AND VENUE
        1.     Plaintiff, David E. Wade (“Mr. Wade”), is an individual, residing in Ross County,

Ohio.

        2.     Defendant, Franklin County, Ohio (“Franklin County”), is a political subdivision

created and authorized under the laws of the State of Ohio.

        3.     Defendant, Franklin County Sheriff’s Office (“Franklin County Sherriff”), is the

chief law enforcement office and agency of Franklin County.

        4.     At all relevant times hereto, Franklin County established the regulations, customs,

policies, and practices followed by Franklin County Sheriff and was responsibility for the

organization, maintenance, operation, staffing, and supervision of the Franklin County Sheriff’s

department.

        5.     Upon information and belief, Defendant, Nicholas Bates (“Deputy Bates”), is an

individual residing in Franklin County, Ohio, and at all relevant times, was an employee and duly

sworn deputy or officer of the Franklin County Sheriff.

        6.     Upon information and belief, Defendant, Less Lethal, LLC (“Less Lethal”), is an

Ohio limited liability company with its principal place of business in Hamilton County, Ohio,

and conducts business throughout the State of Ohio, including Franklin County, Ohio.

        7.     Upon information and belief, Defendant, Nova Security Group, Inc. (“Nova”), is


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an Alabama corporation with its principal place of business in Dothan, Alabama, but which

conducts business in the State of Ohio, and specifically places products in the stream of interstate

commerce, that are sold and used in the State of Ohio.

       8.      This Court has jurisdiction over Plaintiff’s claims because issues of federal law

pervade and Plaintiff seeks monetary damages against Defendants for violation of rights

guaranteed by the United States Constitution and federal law.

             FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
       SUMMARY OF INCIDENT

       9.      On or about October 22, 2019, Mr. Wade was in the custody of the Franklin

County Sheriff’s Office while criminal charges against him were pending in a case before the

Franklin County Common Pleas Court (the “Court”), styled State of Ohio v. David Wade, and

assigned Case No. 19 CR 001984.

       10.     Mr. Wade invoked his constitutionally-protected right to represent himself and

serve as his own lawyer during a trial (the “Trial”) that began on October 22, 2019.

       11.     As a condition to self-representation, the Court ordered Mr. Wade to wear a Nova

R.A.C.C. stun belt (the “Stun Belt”) during the Trial.

       12.     The Stun Belt was designed to be activated by a remote-control device.

       13.     During a recess of the Trial, Deputy Bates took the remote control out of the

courtroom, into a restroom and dropped the control into a toilet, after which the Stun Belt locked

to Mr. Wade and shot 50,000 volts of electricity through his body for three, uninterrupted minutes

(the “Violation”).

       14.     The Stun Belt is an inherently dangerous instrumentality and Mr. Wade prays in

this Complaint that the Court permanently enjoin the Franklin County Sheriff from using it and

other products like it and to permanently enjoin Less Lethal and Nova from selling and/or

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distributing the Stun Belt and other products like it.

        PURPOSE AND USE OF THE NOVA R.A.C.C. STUN BELT

        15.     Although innocent until proven guilty, and although customarily only used when

a defendant or incarcerated individual presents a danger to the court, or during transport of

individuals who pose a flight risk, Mr. Wade was ordered to wear the Stun Belt as a means to

control him during the Trial.

        16.     Mr. Wade had no history of, and was not a flight risk.

        17.     Mr. Wade had not history of poor behavior during court proceedings.

        18.     Mr. Wade did not present a danger to the Court.

        19.     There was no finding or order of the Court that Mr. Wade, in representing himself

at the Trial, presented a flight risk or was a danger to the Court.

        NO WARNINGS OR WAIVER

        20.     The Franklin County Sheriff did not give Mr. Wade any written instructions or

warnings regarding the Stun Belt.

        21.     The Franklin County Sheriff did not give Mr. Wade any oral instructions or

warnings regarding the Stun Belt.

        22.     The Franklin County Sheriff did not give Mr. Wade any information or warning

regarding the Stun Belt, including, but not limited to information and warnings related to use of

the Stun Belt, its properties, and/or potential risks.

        23.     The Franklin County Sheriff was not in possession of, and did not request, any

information regarding Mr. Wade’s health to safeguard against risks specific to Mr. Wade in the

use and application of the Stun Belt.

        24.     The Franklin County Sheriff typically requires any individual compelled to wear



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a stun belt provide a written waiver executing Franklin County and the Franklin County Sheriff’s

Office from any liability for harm caused by a stun belt.

       25.     The Franklin County Sherriff’s personnel and/or deputies did not present a waiver

form to Mr. Wade.

       26.     The Franklin County Sherriff’s personnel and/or deputies did not request that Mr.

Wade sign a waiver.

       27.     Mr. Wade never signed a waiver form related to the Stun Belt that he was forced

to wear.

       28.     Prior to being shocked, the only information Mr. Wade had regarding the Stun

Belt was that he had to wear the Stun Belt in order to represent himself during the Trial.

       29.     Nevertheless, the Franklin County Sheriff strapped the Stun Belt directly to Mr.

Wade’s torso, secured the Stun Belt with a metal lock, and pocketed both the lock and remote

control activator.

       DESCRIPTION OF INCIDENT AND CONDUCT OF FRANKLIN COUNTY

       30.     Upon information and belief, during the Trial, Deputy Bates was in charge of and

controlled the Stun Belt remote.

       31.     Upon information and belief, at the time of the Violation, Deputy Bates was in

charge of and controlled the Stun Belt remote.

       32.     During a recess of the Trial, Deputy Bates went to the restroom.

       33.     When he went to the restroom, Deputy Bates did not pass custody of the Stun Belt

remote to another deputy.

       34.     Instead, Deputy Bates took the Stun Belt remote to the bathroom with him and

amazingly, dropped the remote into a toilet.



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       35.     Instead of immediately removing the belt from Mr. Wade and securing him in

some other fashion, Deputy Bates elected to leave the Stun Belt locked to Mr. Wade.

       36.     Surveillance footage shows that Deputy Bates considered it was funny that he had

dropped the Stun Belt remote into a toilet.

       37.     Deputy Bates shared the joke with his fellow deputies, who he enlisted to help

retrieve the remote from the toilet water.

       38.     Thereafter, the deputies dangerously retrieved the remote control from the toilet

water while leaving the Stun Belt locked to Mr. Wade.

       39.     At the time of the Violation, Mr. Wade was quietly sitting in the courtroom,

listening to recorded witness statements and preparing his defense for the Trial.

       40.     In contrast, surveillance footage shows Deputy Bates making vulgar gestures

imitating the act of masturbating after he dropped the Stun Belt remote into the toilet.

       41.     In the process of removing the remote from the toilet and drying it off, the Stun

Belt activated, sending at least 50,000 volts of electricity through Mr. Wade’s body for a period

of three, uninterrupted minutes.

       42.     The Franklin County Sheriff realized the situation was not a joke only after Mr.

Wade was hit with 50,000 volts, causing grave injuries to Mr. Wade.

       43.     The Franklin County Sheriff’s personnel and/or appointed deputies could not

deactivate the Stun Belt.

       44.     The Stun Belt could not be removed from Mr. Wade’s torso because the Franklin

County Sheriff’s personnel and/or appointed deputies lost the key to the Stun Belt lock.

       45.     Deputies ultimately removed the Stun Belt from Mr. Wade, which was still active

and sending 50,000 volts through his body, by cutting it off with a knife.



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       46.     During the Violation, Mr. Wade ended up on the floor of the courtroom writhing

in pain and screaming, “What did I do? What did I do?”

       47.     Attached as Exhibit A is a true and accurate copy of an incident report (the

“Incident Report”) of the Violation, prepared by and kept in the ordinary course of business by

the Franklin County Sheriff.

       EVENTS AFTER THE VIOLATION

       48.     Immediately after the incident, Mr. Wade complained of physical injury.

       49.     Pictures in the attached Incident Report show marks on Mr. Wade’s body

resulting from the Violation, and serve as evidence of his injury.

       50.      The shocking incident was so severe that the Court declared a mistrial of Mr.

Wade’s criminal proceedings.

       51.     The Franklin County Sheriff issued a written reprimand to Deputy Bates, finding

his conduct worthy of discipline. A true and accurate copy of the written reprimand is attached

as Exhibit B hereto.

       ACTIONS OF LESS LETHAL AND NOVA

       52.     Less Lethal and Nova are affiliated entities, sharing common ownership and

control.

       53.     Together, Less Lethal and Nova design, manufacturer, distribute, sell and/or

otherwise place into the stream of commerce the Nova R.A.C.C. stun belts.

       54.     Upon information and belief, Less Lethal and Nova, together, provide training to

law enforcement for use of the Nova R.A.C.C. stun belts

       55.     Upon information and belief, Less Lethal holds itself out as the exclusive supplier

of the Nova R.A.C.C. stun belt and related products.



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       56.     Upon information and belief, Franklin County purchased the Stun Belt, and other

Nova R.A.C.C. stun belts, from Nova and/or Less Lethal.

       57.     Upon information and belief Nova and/or Less Lethal provided training and/or

training materials to the Franklin County Sheriff’s personnel and deputies.

       58.     Upon information and belief, Nova R.A.C.C. stun belts are programmed to apply

a pulsing shock of approximately 10 millionths of a second.

       59.     Water is a commonly encountered substance.

       60.     Nova R.A.C.C. stun belts are advertised for use both indoors and outdoors,

without limitation.

       61.     Yet if the Nova R.A.C.C. stun belt remote control comes into contact with water,

the stun belt may malfunction such that the “shock” of 50,000-75,000 volts will continue

uninterrupted for an indefinite period of time.

       62.     After the remote control kept by Deputy Bates came into contact with water, the

Stun Belt malfunctioned such that a “shock” of at least 50,000 volts was applied to Mr. Wade for

three, uninterrupted minutes.

       INJURIES AND OTHER HARM TO WADE

       63.     Mr. Wade sustained serious and permanent personal injuries as a result of the

Violation.

       64.     Mr. Wade sought medical treatment immediately after the Violation and

continues to receive medical treatment while incarcerated.

       65.     Mr. Wade also suffers from post-traumatic stress disorder as a result of the

Violation and battles ongoing, related anxiety and depression.

       66.     Mr. Wade’s injuries include physical harm, mental anguish, and emotional



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distress.

        67.     The personal injuries Mr. Wade sustained were a direct and proximate result of

the Violation, are severe and permanent, and have disrupted Mr. Wade’s life.

                                COUNT ONE: 42 U.S.C. § 1983
            VIOLATION OF RIGHTS SECURED BY FOURTEENTH AMENDMENT
             (Defendants Franklin County, Franklin County Sheriff, and Deputy Bates)

        68.     Plaintiff incorporates the statements above, the same as if fully rewritten herein.

        69.     Franklin County, acting under color of state law, deprived Mr. Wade of rights

protected by the United States Constitution and/or federal law, causing harm to Mr. Wade.

        70.     The Franklin County Sheriff, acting under color of state law, deprived Mr. Wade

of rights protected by the United States Constitution and/or federal law, causing harm to Mr.

Wade.

        71.     Deputy Bates, acting under color of state law, deprive Mr. Wade of rights

protected by the United States Constitution and/or federal law, causing harm to Mr. Wade.

        72.     Without limitation, Franklin County, Franklin County Sheriff, and Deputy Bates

unlawfully deprived Mr. Wade of his right(s) to (a) procedural due process, (b) substantive due

process, (c) equal protection, (d) protection against unreasonable searches and seizures under the

Fourth Amendment to the United States Constitution, (e) confront and cross examine witnesses

and counsel under the Sixth Amendment to the United States Constitution, and (f) protection

against cruel and unusual punishment under the Eighth Amendment to the United States

Constitution.

        73.     The actions and/or omissions of Defendants, Franklin County, Franklin County

Sheriff, and Deputy Bates, as described above, are actionable under 42 U.S.C. § 1983.

        74.     Said actions and/or omissions caused Plaintiff to suffer harm.

        75.     The actions and/or omissions of Defendants Franklin County, Franklin County
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Sheriff, and Deputy Bates, were made knowingly, intentionally, wantonly, and/or with reckless

disregard for Plaintiff’s safety and rights.

                             COUNT TWO: ASSAULT AND BATTERY
                (Defendants Franklin County, Franklin County Sheriff, and Deputy Bates)

          76.      Plaintiff incorporates the statements above, the same as if fully rewritten herein.

          77.      Defendants, Franklin County, Franklin County Sheriff, and Deputy Bates, in their

individual and official capacities, assaulted Plaintiff and committed battery when their actions

resulted in Plaintiff being shocked for three, uninterrupted minutes.

          78.      Said Defendants intended to cause and did cause a harmful contact with Plaintiff’s

person.

          79.      Said Defendants intended to cause and did cause Plaintiff to suffer apprehension

of an immediate harmful contact.

          80.      Plaintiff did not consent to said Defendants’ conduct or acts.

          81.      As a direct and proximate result of the conduct of Franklin County, Franklin

County Sheriff, and Deputy Bates, Plaintiff suffered physical injuries, extreme mental anguish,

and pain.

          82.      As a direct and proximate result of the conduct of Franklin County, Franklin

County Sheriff, and Deputy Bates, Plaintiff was required to obtain medical services and treatment

and will, in the future, be compelled to incur additional obligations for medical treatment.

          83.      The acts and/or conduct of Franklin County, Franklin County Sheriff, and Deputy

Bates, were done knowingly, willfully, and/or recklessly and wantonly, with malicious intent,

and Plaintiff is entitled to punitive damages in an amount to be determined by proof at trial.

          84.      As a result of the aforementioned conduct of Franklin County, Franklin County

Sheriff, and Deputy Bates, Plaintiff suffered harm in an amount to be determined by the Court

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and proven at trial, in excess of $25,000.00.

                                  COUNT THREE: NEGLIGENCE
                                        (Deputy Bates)

        85.    Plaintiff incorporates the statements above, the same as if fully rewritten herein.

        86.    Deputy Bates owed a duty to Mr. Wade to prevent physical injury and bodily

harm.

        87.    Deputy Bates breached that duty as described above.

        88.    As a direct and proximate result of Deputy Bates’s breach of the duty owed,

Plaintiff sustained harm.

        89.    Plaintiff suffered harm in an amount to be determined by the Court and proven at

trial, in excess of $25,000.00.

                COUNT FOUR: NEGLIGENT DESIGN AND MANUFACTURE
                               (Less Lethal and Nova)

        90.    Plaintiff incorporates the above statements as if fully rewritten herein.

        91.    Defendants, Less Lethal and Nova, designed, manufactured, and/or assembled the

Stun Belt, which contained a defective condition.

        92.    This design, manufacture, and/or assembly defect made the Stun Belt

unreasonably dangerous.

        93.    The Stun Belt remained unchanged and was in the same condition at the time of

the Violation, resulting in personal injury sustained by Mr. Wade.

        94.    As a direct and proximate cause of the defectively designed, manufactured, and

assembled Stun Belt, Plaintiff sustained permanent physical injury.

        95.    Plaintiff suffered harm in an amount to be determined by the Court and proven at

trial, in excess of $25,000.00.


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                          COUNT FIVE: PERMANENT INJUNCTION
                           (Franklin County Sheriff, Less Lethal, Nova)

        96.     Plaintiff incorporates the above statements as if fully rewritten herein.

        97.     Because the Stun Belt is an inherently dangerous product, Plaintiff is entitled to a

permanent injunction, pursuant to state and federal law, to prevent Franklin County Sheriff from

using it and products like it.

        98.     Because the Stun Belt is an inherently dangerous product, Plaintiff is entitled to a

permanent injunction, pursuant to state and federal law, to permanently enjoin Less Lethal and

Nova from selling and/or distributing the Stun Belt and other products like it.

                             REQUEST FOR PUNITIVE DAMAGES
                                   (As to All Defendants)

        99.     Plaintiff incorporates the above statements as if fully rewritten herein.

        100.    As described above, Defendants’ engaged in willful, wanton, and reckless

misconduct and malice, exhibiting a reckless disregard for the health and safety of patients.

        101.    The egregious and shocking conduct of Defendants, as described in this Complaint,

could only result from widespread deficiencies and severely defective policies and practices, which

Defendants failed to recognize, prevent, and/or remedy.

        102.    Defendants’ conduct warrants the imposition of punitive damages.

                                      PRAYER FOR RELIEF

        WHEREFORE, having fully stated the claims against Defendants, Plaintiff respectfully

demands judgment as follows:

        A.      Against Defendants, jointly and severally, in an amount to be determined by the

Court, in excess of $25,000.00, plus interest, punitive damages for the intentional, egregious, and

reckless misconduct of Defendants;


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       B.      Granting injunctive relief necessary to prevent the Franklin County Sheriff from

using the inherently dangerous Stun Belt and other products like it;

       C.      Granting injunctive relief necessary to permanently enjoin Less Lethal and Nova

from selling and/or distributing the Stun Belt and other products like it;

       D.      Award Plaintiff the costs of this action, including reasonable attorneys’ fees; and

       E.      And grant any other relief this Court deems just and equitable.

                                              Respectfully submitted,


                                               /s/ Adam F. Florey
                                              Adam F. Florey (0084826)

                                               /s/ Adam R. Todd
                                              Adam R. Todd (0077284)

                                              FLOREY TODD, LTD.
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                                              aflorey@law-flc.com
                                              atodd@law-flc.com
                                              Attorneys for Plaintiff

                                         JURY DEMAND

       Plaintiff hereby respectfully demands a trial by jury on all issues so triable.

                                              Respectfully submitted,


                                               /s/ Adam F. Florey
                                              Adam F. Florey (0084826)

                                               /s/ Adam R. Todd
                                              Adam R. Todd (0077284)




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                                                                       Exhibit B
